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                                  7                                    UNITED STATES DISTRICT COURT
                                  8                              NORTHERN DISTRICT OF CALIFORNIA
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                                         ASHOK BABU, and others,                               Case No.18-cv-07677-NC
                                  11
                                                         Plaintiffs,                           ORDER GRANTING
Northern District of California




                                  12                                                           UNOPPOSED MOTION FOR
 United States District Court




                                                   v.                                          PRELIMINARY APPROVAL
                                  13                                                           OF CONSENT DECREE
                                         GREGORY J. AHERN, and others,
                                  14                                                           Re: ECF 266
                                                         Defendants.
                                  15
                                  16
                                  17          The Parties have entered into a Consent Decree to resolve all claims in this case
                                  18   which was filed with Plaintiffs’ Unopposed Motion for Preliminary Approval of Consent
                                  19   Decree on August 26, 2021. The Parties also submitted a proposed Notice to the class and
                                  20   subclass, attached as Exhibit D to the Consent Decree. After reviewing all of the
                                  21   pleadings, records, and papers on file, the Court finds that, good cause appearing, IT IS
                                  22   HEREBY ORDERED as follows:
                                  23          1.        This action is determined to be properly maintained as a class action
                                  24   pursuant to Rule 23(b)(2) of the Federal Rules of Civil Procedure. The Court has already
                                  25   certified a Class defined as “all adults who are now, or in the future will be, incarcerated in
                                  26   the Alameda County Jail” (“Class”) and a Disability Subclass defined as “all qualified
                                  27   individuals with a psychiatric disability, as that term is defined in 42 U.S.C. § 12102, 29
                                  28   U.S.C. § 705(9)(B), and California Government Code § 12926(j) and (m), and who are
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                                  1    now, or will be in the future, incarcerated in the Alameda County Jail.” ECF 64.
                                  2           2.     The Consent Decree falls within the range of possible approval and is
                                  3    sufficiently fair to warrant the dissemination of notice to the Class and Disability Subclass
                                  4    members.
                                  5           3.     The Consent Decree is the product of arms’-length, serious, informed, and
                                  6    non-collusive negotiations between experienced and knowledgeable counsel who have
                                  7    actively prosecuted and defended this litigation.
                                  8           4.     The Consent Decree is granted preliminary approval and incorporated herein
                                  9    by this reference and has the full force and effect of an order of the Court.
                                  10          5.     The Notice, attached as Exhibit D to the Consent Decree, constitutes valid,
                                  11   due, and sufficient notice to the class, constitutes the best notice practicable under the
                                       circumstances, and complies fully with the requirements of Rule 23 of the Federal Rules of
Northern District of California




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                                  13   Civil Procedure. The proposed Notice apprises Class and Disability Subclass members in
                                  14   a fair and neutral way of the existence of the Consent Decree and their rights with respect
                                  15   to the Consent Decree. The Court acknowledges the requests to continue at ECF 270, 271,
                                  16   272, 273, 274, 277, 278 but finds the proposed notice plan sufficient to address the
                                  17   concerns raised.
                                  18          6.     Dissemination of the Notice as provided above is hereby authorized and
                                  19   approved with modifications. Within twenty-one days of this order, the Notice shall be
                                  20   disseminated (1) in all intake and housing units of the Jails; (2) in the Jails’ hospitals and
                                  21   mental health facilities; (3) on Class Counsel’s website; (4) on the tablets used by class
                                  22   members; and (5) on the television-notification system inside the Jail. The Parties shall
                                  23   provide alternate format copies of the notice upon request. Notice shall remain posted so
                                  24   long as the Consent Decree is in effect, absent further order of the Court.
                                  25          7.     The Notice must also be modified to: (1) clearly state that the date of the
                                  26   final approval hearing may change without further notice to the class as recommended in
                                  27   the Northern District’s Guidance for Class Action Settlements, and (2) include a URL for
                                  28   the specific webpage on Class Counsel’s website with information about the case rather
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                                  1    than a link to home page of Class Counsel’s website.
                                  2           8.     Any member of the Class and/or Disability Subclass may enter an
                                  3    appearance on their own behalf in this action through that class member’s own attorney, at
                                  4    their own expense, but need not do so. Class and/or Disability Subclass members who do
                                  5    not enter an appearance through their own attorney will be represented by Class Counsel.
                                  6    Any member of the Class and/or Disability Subclass may object to the Consent Decree by
                                  7    December 31, 2021, which is more than 35 days from when Notice will be posted. Class
                                  8    Counsel and/or Defendants, as appropriate, will respond to any timely-filed objections no
                                  9    later than January 12, 2022.
                                  10          9.     The Court will consider written objections when deciding whether to
                                  11   approve the Consent Decree. Objections must include at the top of the first page the case
                                       name, Babu v. County of Alameda, and case number 5:18-cv-07677. Objections must also
Northern District of California




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                                  13   include the name, address, and signature of the objector. Objections must be postmarked
                                  14   no later than December 31, 2021, and sent to the following address:
                                  15
                                                     Clerk of the Court
                                  16                 United States District Court
                                                     Northern District of California
                                  17                 280 South 1st Street
                                                     San Jose, CA 95113
                                  18
                                  19          10.    A final approval hearing pursuant to Rule 23(e) of the Federal Rules of Civil
                                  20   Procedure will be held on January 19, 2022 at 1:00 pm in the United States District Court
                                  21   for the Northern District of California, to determine whether the proposed Consent Decree
                                  22   is fair, reasonable, and adequate, and whether it should be finally approved by the Court.
                                  23   The hearing may be continued from time to time without further notice. The motion for
                                  24   attorneys’ fees and costs shall be filed on or before October 13, 2021 and the motion for
                                  25   final approval shall be filed on or before January 12, 2022. Both motions shall be heard on
                                  26   January 19, 2022.
                                  27          11.    A summary of the deadlines set by the Court is included in the chart below:
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                                  1     Event                                            Date
                                  2     Defendants to provide notice to the              Within 10 days of the filing of Preliminary
                                  3     appropriate officials as required by the         Approval.
                                        Class Action Fairness Act (CAFA) 28
                                  4     U.S.C. § 1715(b)
                                  5     Posting notice by the County in all intake       Within 21 days after entry of order
                                  6     and housing units of the Jails                   granting preliminary approval

                                  7     Creation of webpage by Class Counsel             Within 21 days after entry of order
                                        electronically publishing notice                 granting preliminary approval
                                  8
                                        Posting notice by the County on the              Within 21 days after entry of order
                                  9
                                        tablets used by class members                    granting preliminary approval
                                  10
                                        Posting notice by the County on the              Within 21 days after entry of order
                                  11    television-notification system inside the        granting preliminary approval
                                        Jail
Northern District of California




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                                  13    Deadline for filing of Plaintiffs’               October 13, 2021
                                        Unopposed Motion for Attorneys’ Fees
                                  14    and Costs
                                  15    Deadline for objections by class members         December 31, 2021
                                  16
                                        Deadline for filing of Motion for Final          January 12, 2022
                                  17    Approval and for filing of responses to
                                        any timely-filed class member objections
                                  18
                                  19    Hearing on Motion for Final Approval and January 19, 2022, 1:00 p.m. via Zoom
                                        on Plaintiffs’ Unopposed Motion for      webinar
                                  20    Attorneys’ Fees and Costs
                                  21
                                  22
                                             IT IS SO ORDERED.
                                  23
                                  24
                                       Dated: September 24, 2021                   _____________________________________
                                  25                                                     NATHANAEL M. COUSINS
                                                                                         United States Magistrate Judge
                                  26
                                  27
                                  28
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